             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                 Civil Action No. 1:20-cv-00039-MR


 THOSE CERTAIN UNDERWRITERS
 AT LLOYD’S, LONDON, subscribing
 to Certificate No. 492300,

                        Plaintiffs,

                        vs.
                                           DEFAULT JUDGMENT AS TO
 WH HEALTHCARE GROUP, LLC, an
                                            JEFFREY G. HEDGES, D.C.
 administratively dissolved North
 Carolina limited liability company;
 SUPERIOR HEALTHCARE
 PHYSICAL MEDICINE AND REHAB,
 PC, a dissolved North Carolina
 professional corporation; JEFFREY
 G. HEDGES, D.C.; and ANDREW
 WELLS, D.C.;

                        Defendants.


      THIS MATTER is before the Court on the Plaintiffs’ Motion for Default

Judgment as to Defendant Jeffrey G. Hedges (the “Defaulting Defendant”)

[Doc. 59].

      Having considered the motion and the entire record, the Court enters

the following Order granting the motion and entering Default Judgment

against the Defaulting Defendant identified above as follows:




        Case 1:20-cv-00039-MR Document 61 Filed 02/05/24 Page 1 of 4
           FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.     The Court has subject matter jurisdiction over this case and

personal jurisdiction over the Defaulting Defendant. Venue is proper in the

Western District of North Carolina.

      2.     The Defaulting Defendant identified above was properly served

with a summons and a copy of the Complaint pursuant to Fed. R. Civ. P.

4. Thus, this Defendant has proper notice of this action.

      3.     The Defaulting Defendant filed his Answer [Doc. 25] to the

Plaintiffs’ Complaint [Doc. 1] on April 17, 2020. However, thereafter, he

abandoned his defense of this action, and filings sent to his address were

returned undeliverable. [See Doc. 50]. On August 14, 2023, the Court

ordered the Defaulting Defendant to show cause in writing within fourteen

(14) days why an entry of default should not be made against him. [Doc.

52]. He did not respond. As a result, on September 1, 2023, the Court

ordered the Defaulting Defendant’s Answer stricken, and directed the Clerk

to enter a default against him. [Doc. 55].

      4.     By virtue of the default and failure to respond, the

Defaulting Defendant is deemed to have admitted the allegations of the

Complaint, and the Plaintiffs have established the propriety of the relief

sought against the Defaulting Defendant. Accordingly, the Court will enter


                                      2
       Case 1:20-cv-00039-MR Document 61 Filed 02/05/24 Page 2 of 4
the Plaintiffs’ requested declaratory relief as set forth below, pursuant to 28

U.S.C. § 2201 et seq.

     Accordingly, IT IS, THEREFORE, ORDERED, ADJUDGED, AND

DECREED that the Plaintiffs’ Motion for Default Judgment [Doc. 59]

is   GRANTED, and Default Judgment is hereby entered against the

Defaulting Defendant, Jeffrey G. Hedges, D.C., as follows:

     1.       The Court hereby declares that the allegations contained in the

Government’s Intervention Complaint at 5:16-CV-127-BO do not trigger a

duty to defend or indemnify the Defaulting Defendant under the e-

MD®/MEDEFENSE® Plus Coverage, Certificate No. 492252 (“the Policy”)

issued by Plaintiffs to Defendant Superior Healthcare Physical Medicine of

Hendersonville, PC, nor does it otherwise trigger coverage thereunder as to

the Defaulting Defendant;

     2.       The Court hereby declares that the Policy is rescinded based

on the material misrepresentations made in the application therefor by

Defendant Superior Healthcare Physical Medicine of Hendersonville, PC;

     3.       The Court hereby declares the Policy to be null and void

pursuant to Paragraph 26 of the Policy; and

     4.       The Court hereby declares the Policy to be forfeited pursuant to

Paragraph 27 of the Policy.


                                       3
          Case 1:20-cv-00039-MR Document 61 Filed 02/05/24 Page 3 of 4
      Further, there being no just reason for delay, pursuant to Rule 54(b) of

the Federal Rules of Civil Procedure, the Clerk is directed to enter this Default

Judgment forthwith and without further notice.

      IT IS SO ORDERED.             Signed: February 5, 2024




                                        4
        Case 1:20-cv-00039-MR Document 61 Filed 02/05/24 Page 4 of 4
